         Case: 3:20-cv-00926-jdp Document #: 36 Filed: 06/01/21 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF WISCONSIN

MICHAEL WINFIELD,

        Plaintiff,
                                                        Case No. 20-cv-926-jdp
   v.

MICHAEL DITTMAN, KAREN RUCK,
LUCAS WEBER, DR. WHITE, DR. STANGE,
C/O ROHWER, SGT. ZIEGLER, and
LT. CORNELIUS,

        Defendants.


                              JUDGMENT IN A CIVIL CASE


        IT IS ORDERED AND ADJUDGED that judgment is entered dismissing this case

without prejudice.




        /s/                                               6/1/2021
        Peter Oppeneer, Clerk of Court                           Date
